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                                                                   Rights and
                                                                 Responsibilities




    Brandeis University
Department of Student Rights
 and Community Standards
      415 South Street – MS 206
        Waltham, MA 02454
        Phone: 781.736.5070
          Fax: 781.736.3579
www. brandeis.edu/studentaffairs/srcs                                      2011 – 2012
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  August, 2011

  This booklet, Rights and Responsibilities, is a guide to our Brandeis community regarding the standards
  that dene us. It is a reection of what over the years has formed the policies and practices under
  which we all work and learn at our best.

  Rights and Responsibilities also contains the procedures the University employs when a member of the
  community believes that a student has violated a campus policy. This process, though it has
  elements common to most private college campuses in America, is ultimately a Brandeis-grown and
  nurtured one that is constantly evaluated and tweaked by the community every year.

  A careful read of this document should expose its nuance as a statement of rights that we believe
  our students should hold. The description of student rights is the product of collaboration between
  our Union government leadership and the staff who administer our student judicial process.
  Students seeking peer assistance when encountering the judicial process can look to both the
  Department of Student Rights and Community Standards, and to the Ofce of Student Rights and
  Advocacy – a function of the Union.

  I hope you have time to read this book and become familiar with it when you receive it. By
  becoming familiar with the various policies on campus in advance, much difculty can be avoided
  by understanding policies rather than abusing them.

  Students, faculty and staff who are interested in serving on conduct hearing boards or who have
  questions about policies or procedures impacting community standards should be in touch with
  Dean Gendron, Director of Student Rights and Community Standards.

  Have a great year and be safe.

  Rick Sawyer
  Vice President and Dean of Student Life




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  1.5. identify himself or herself with a University Identication Card when requested by an
  authorized University ofcial. The ofcial must provide identication if the student requests it.

  1.6. utilize the University Identication Card exclusively for the student’s own use in obtaining
  University services and privileges. A student may obtain his or her Identication Card at the
  Campus Card Ofce at the beginning of the student’s rst academic year. A student’s Identication
  Card and its applications are not transferable. Lost Identication Cards must be reported to the
  Campus Card Ofce and the Department of Public Safety, and then replaced as soon as possible.
  Damaged cards will be replaced free of charge, but there is a fee to replace a lost card. The student
  must turn in the damaged card to the Campus Card Ofce.

  1.7. seek and/or obtain only those University privileges or services (check cashing, student elections,
  athletic events, group examinations, registration, library, campus technologies, etc.) to which the
  student is properly entitled.

  1.8. refrain from encouraging, enticing, inuencing or enlisting another student to violate any of the
  University standards or policies listed in this handbook or other ofcial University documents.

  Section 2. Respect for the Health, Safety, and Rights of Community Members
  2.0. All members of the community share the responsibility for protecting and maintaining
  community health and safety and the rights of other persons.            Concentrated housing, varied
  activities, and the needs of students, faculty, and staff for freedom to pursue their own educational
  tasks and complete job-related responsibilities free from hazards and intrusions, requires the
  cooperation of all in maintaining these standards.

  A student is expected and required to:
  2.1. respect the integrity and personal rights of individuals. The University will not tolerate any
  behavior that:
            2.1.a. intimidates.
            2.1.b. threatens.
            2.1.c. harasses. (see Section 7 regarding harassment)
            2.1.d. physically harms. (some examples: hitting, pushing, or physical
                     altercations/violence of any kind)
            2.1.e. invades personal privacy.
            2.1.f. endangers the health, safety, or welfare of any other person or oneself on or off
                     campus. Due to the seriousness of any integrity or personal rights accusations
                     and accompanying issues that may impact the Brandeis community, any student
                     involved in such an incident may be placed on campus restriction or emergency
                     suspension pending the outcome of any investigation or conduct process.

  2.2. comply with instructions of University ofcials.

  2.3. comply with the nal decision of a conduct board or administrative action.

  2.4. recognize and allow for the legitimate functions of the University. Obstructing or disrupting
  teaching, research, administrative, public service, disciplinary or other authorized functions is
  unacceptable.

  2.5. refrain from using computers, cellular phones, tablets, cameras, or other electronic devices in
  any manner that causes disruption to or invades another individual’s privacy in a classroom, library



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  or other campus facility or any campus event. This includes misuse of computer and/or cellular
  devices with photographic, video, or text messaging capability (see Section 17).

  2.6. use safety equipment and/or initiate safety procedures only when it is necessary (this includes,
  but is not limited to, re equipment, re alarms, re drills, and exit lights). Initiating a false re
  alarm or issuing any type of threat is strictly prohibited.

  2.7. avoid and refrain from discrimination on the basis of race, sex, color, national origin, religion,
  age, gender, gender identity and expression, sexual orientation, disability, veteran status, or genetic
  information (see Section 7).

  2.8. avoid and refrain from hazing: initiating or disciplining fellow students, often in the nature of
  forced alcohol consumption, humiliating or painful ordeals (see Appendix A for related
  Massachusetts law).

  2.9. observe the prohibition of on-campus possession of rearms (including blank pistols and
  replicas, bb guns, and pellet guns), explosives, knives, reworks, nun-chucks, paintball guns, and
  other articles or substances usable as weapons.

  2.10. obtain clearance from the Department of Student Activities for the use of loud speakers or
  other sound amplication equipment at outdoor events.

  2.11. refrain from bringing any dog or animal onto the University campus without a leash.
  Students are prohibited from allowing any unrestrained animal to enter any campus building, or
  allowing any restrained or unrestrained animal (other than guide and service animals) to enter
  dining service buildings, campus centers, residence halls or libraries.

  2.12. assume responsibility for the actions, damage, or injuries caused by, or costs incurred for the
  services related to hosting a guest on campus. The University reserves the right to impose
  requirements related to the safety or security concerns of a visit by a guest, and to assess the host for
  the cost of meeting these requirements.

  2.13. comply with the regulations enumerated in other ofcial University publications and
  documents (e.g., library policies, computer use policies, Dining Services policies, residence halls and
  dining services license, parking policies, and nancial aid policies).

  Section 3. Sexual Responsibility – Seeking and Communicating Consent
  3.0. Brandeis University expects all members of the University community to treat one another
  with respect. Policies regarding sexual misconduct emphasize personal accountability as well as
  recognition of the impact of one’s behavior on others. Students are encouraged to examine their
  own values, communicate with one another clearly, and acknowledge the condition and requests of
  others. Incapacity to consent to sexual activity or compromised communication can result when
  individuals are under the inuence of intoxicants such as alcohol and other drugs. If both parties
  do not consent, or are unable to consent to a sexual act, then the interaction could be dened as
  sexual misconduct or sexual assault. Consent must be sought and clearly understood and
  communicated before engaging in any sexual activities.         Due to the seriousness of sexual
  misconduct accusations and accompanying issues that may impact the Brandeis community, any
  student accused of sexual misconduct may be placed on campus restriction or emergency
  suspension pending the outcome of any investigation or conduct process.




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  3.1. Students are prohibited from engaging in sexual misconduct. Sexual contact that occurs
  without the explicit consent of each student involved may be considered sexual misconduct.
  Consent must be clearly communicated, mutual, non-coercive, and given free of force or threat of
  force.    A student who is physically or mentally incapacitated by drugs, alcohol, or other
  circumstances is not capable of giving consent. Physical or mental incapacity means the lack of
  ability to appreciate the fact that the situation is sexual, and/or the inability to rationally and
  reasonably appreciate the nature and extent of that situation. Evidence of ingestion of drugs
  and/or alcohol may raise a presumption of physical and/or mental incapacity.

  3.2. Causing incapacitation or intoxication, or taking advantage of someone’s incapacitation or
  intoxication for the purpose of engaging in sexual activity is considered sexual misconduct.

  3.3. Consent or lack of consent may be communicated verbally or through actions but if a refusal
  to engage in sexual activity is communicated at any time then the activity must cease immediately.
  Lack of consent may also be inferred from the use of force, threat, physical intimidation, or
  advantage gained by the accuser’s mental or physical incapacity or impairment of which the
  accused was aware or should have been aware. Prior sexual activity or an existing acquaintance,
  friendship, or relationship that has been sexual in nature does not constitute consent for the
  continuation or renewal of sexual activity.

            Services Available to Victims of Sexual Assault and Other Sex Offenses: The
            following list identies services, summarizes relevant policies, and illustrates the
            University’s compliance with the requirements of the 1992 Higher Education
            Reauthorization Act, section 485(f).

            Students should report sexual misconduct, rape, sexual assault or other sex offenses to the
            Department of Public Safety. The Department of Public Safety has full police powers
            and the staff is trained to provide accurate information on preserving evidence and the
            options for criminal prosecution, campus disciplinary proceedings, or both.

            The staff in the Department of Public Safety and the staff in the Division of Student
            Affairs are available to assist students in notifying local police if the student chooses.

            Campus disciplinary proceedings may be initiated against a student through the
            Department of Student Rights and Community Standards (see Sections 3.1, 3.2, 3.3
            and/or Section 7 of this publication). To report sexual misconduct against a staff or
            faculty member contact the University’s Vice President for Human Resources.

            Section 19.8 of this publication describes the right of an accused student as well as the
            accuser to bring an adviser of his or her choice from the University community. This
            section also permits the passive assistance of legal counsel by either party but only if
            coexisting criminal charges are pending resulting from the same incident.

            Possible sanctions to be imposed following the completion of campus disciplinary
            proceedings are included in Section 21. The accuser will be informed of the outcome of
            disciplinary proceedings in which sexual assault is alleged.

            A brochure published by the Division of Student Affairs lists many helping services both
            on campus (e.g., Counseling and Rape Crisis Hotline, Ofce of Human Resources,
            Psychological Counseling Center) and off campus (e.g., Boston Area Rape Crisis Center).



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            The staff in the Division of Student Affairs is available after an alleged sexual assault
            incident to assist students in making any reasonably available changes in academic or
            living situations. The Division of Student Affairs and the Ofce of Human Resources
            offer educational programs on sexual assault.

            Brandeis’ Title IX Coordinator, Scot Bemis, is also available to meet with students and
            receive complaints of sexual misconduct. Mr. Bemis, the University’s Vice President for
            Human Resources, oversees the University’s investigation and resolution of all Title IX
            complaints. Mr. Bemis can be reached at 781-736-4464.

  Section 4. Maintenance of Academic Integrity
  4.0. Every member of the University community is expected to maintain the highest standards of
  academic integrity. A student shall not submit work that is falsied or is not the result of the
  student’s own effort. Infringement of academic honesty by a student subjects that student to serious
  penalties, which may include failure on the assignment, failure in the course, suspension from the
  University or other sanctions (see Section 21). A student who is in doubt regarding standards of
  academic honesty in a course or assignment should consult the faculty member responsible for that
  course or assignment before submitting the work. A student’s lack of understanding is not a valid
  defense to a charge of academic dishonesty.

  4.1. A student’s name on any written exercise (e.g., examination, report, thesis, theme, notebook,
  laboratory report, computer program, etc.), or in association with an oral presentation constitutes a
  representation that the work is the result of that student’s own thought and study. Such work shall
  be stated in the student’s own words, and produced without the assistance of others, except for
  quotation marks, references, and footnotes that accurately acknowledge the use of other sources
  (including sources found on the Internet). Talking during an examination, or possession or use of
  unauthorized materials or equipment during an examination constitutes an infringement of
  academic honesty. Attempting to receive credit for work not originally submitted also constitutes an
  infringement of academic honesty.

  4.2. In some instances, a student may be authorized by a faculty member to work jointly with
  (an)other student(s) in solving problems or completing projects. However, students may not
  collaborate on assignments without explicit permission from the instructor. To provide, either
  knowingly or through negligence, one’s own work to assist another student in satisfying a course
  requirement constitutes an infringement of academic honesty. Aid from personnel associated with
  University-sanctioned tutoring services is acceptable.

  4.3. Unless permission is received in advance from the faculty member in charge of the course
  involved, a student may not submit, in identical or similar form, work for one course that has been
  used to fulll any academic requirement in another course at Brandeis or any other institution. A
  student who perceives the possibility of overlapping assignments in courses should consult with the
  appropriate faculty members before presuming that a single effort will fulll requirements of both
  courses.

  Section 5. Responsible Use of Tobacco, Alcohol, and other Drugs
  5.0. A commitment to promoting the health and safety of all members of the Brandeis community,
  combined with the University’s obligation to uphold local, state and federal laws, requires clear
  policies on the possession and use of tobacco, alcohol, and other drugs. Members of the
  community who sponsor or host programs assume responsibility for compliance with the policies
  outlined below, and are required to be familiar with guidelines for event sponsorship.



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  5.5. Drugs, Drug Paraphernalia, and Other Substances: The use of illicit drugs or the abuse of
  legally-obtained drugs or substances can cause serious and permanent harm to one’s health and
  ability to function, and to the community. A student is expected and required to observe the fact
  that the manufacturing, distribution, dispensation, possession, sale, or use of marijuana or its
  derivatives, or any other illegal narcotic, stimulant, depressant, or hallucinogen is prohibited.
  Possession or use of bongs, pipes, or other drug paraphernalia is prohibited. Misuse of prescription
  drugs is also prohibited.

  Section 6. Care of University and Personal Property
  6.0. Maintaining and preserving University grounds, academic and administrative buildings,
  residence halls, dining facilities, and associated structures is an obligation of all members of the
  community. Similarly, maintaining and preserving personal property is an obligation of all
  members of the community.

  A student is expected and required to:
  6.1. display posters, banners, handbills, or notices only on spaces designated for that purpose.
  Placement of posters, handbills, or notices etc. on trees, lawns, sidewalks, statues, motor vehicles,
  permanent University signage, emergency blue light phones, stairwells, windows, re suppression
  equipment, or re/exterior doors is prohibited. Students are expected to use only appropriate
  posting materials that will not cause damage (see Section 10.8 and/or the Department of Student
  Activities for non-residential spaces).

  6.2. respect, maintain and care for property belonging to others. Vandalism, theft, attempted theft,
  destruction of, damage to, unauthorized possession of, or inappropriate use of property (including
  intellectual property) belonging to the University, a member of the University community, or any
  other individual or entity is unacceptable.

  6.3. respect, maintain and care for library materials, or other academic materials or equipment.
  Destruction, mutilation, defacement, or tampering with any of the above is unacceptable.

  6.4. observe University guidelines and policies regarding the occupancy and use of University
  property, facilities, name, seal or logo (see Section 16). Storage closets, vacated residence hall
  rooms, and roof areas may not be accessed by students without explicit permission from the
  Department of Community Living.

  6.5. respect and preserve the plant and animal life found on the campus. Mistreatment of animals,
  trees, or plantings is unacceptable.

  6.6. access University buildings and facilities during posted hours and in authorized areas only.

  Section 7. Equal Opportunity, Non-Discrimination, and Harassment
  7.0. Non-Discrimination and Harassment Policy: Brandeis University is committed to providing its
  students, faculty, and staff with an environment conducive to learning and working where all
  people are treated with respect and dignity. Toward that end, it is essential that Brandeis be free
  from discrimination and harassment on the basis of race, color, ancestry, religious creed, gender
  identity and expression, national or ethnic origin, sex, sexual orientation, age, genetic information,
  disability, Vietnam Era Veteran, qualied special, disabled veteran or other eligible veteran status or
  any other category protected by law.




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  It is the University’s responsibility to help prevent harassment and discrimination from occurring, to
  pursue concerns of which it is aware, to objectively investigate concerns, and to take immediate and
  appropriate action to remedy issues of harassment and discrimination. Brandeis takes this
  responsibility seriously. Therefore, violations of this policy will not be tolerated and may result in
  corrective actions up to and including dismissal from school or release from employment.

  7.1. Understanding Harassment: Harassment whether sexual or based on an individual’s protected
  class status (race, color, ancestry, religious creed, gender, national or ethnic origin, sex, sexual
  orientation, age, genetic information, disability, Vietnam Era Veteran, qualied special, disabled
  veteran or other eligible veteran status) is a form of discrimination and will not be tolerated. It is
  regarded as harassment when the conduct has the purpose or effect of unreasonably interfering
  with a person’s education or work performance by creating an intimidating, hostile or offensive
  environment in which to work, study or live; or otherwise adversely affects a person’s employment
  or educational opportunities. This may include but is not limited to, hiring, ring, salary increases,
  promotions, grades, recommendations, scholarly or teaching opportunities, participation in
  extracurricular activities and student organizations.           Harassment may occur between
  supervisor/supervisee, faculty/student, within peer groups, or with third parties.

  7.2. Examples of Sexual Harassment: Depending on the circumstances, conduct which may
  constitute sexual harassment includes, but is not limited to:

         • Unwelcome sexual conduct toward an individual, including offensive comments, touching
           or sexual propositions

         • Threats or insinuations that a person’s employment, academic standing, grade,
           assignments, or other conditions of employment or academic life may be adversely
           affected by not submitting to sexual advances.

         • Leering, making sexual gestures, touching, patting, pinching, rubbing, impeding or
           blocking movements, displaying of sexually suggestive objects, pictures, cartoons or
           posters, suggestive or obscene letters or e-mails, notes, invitations or gifts

         • Making or using derogatory comments, epithets, slurs or jokes with a sexual content

         • Persistent unsolicited and unwelcome invitations for dates, encounters, or pressure to
           engage in sexual activity of an implied or explicit nature

         • Persistent inappropriate and unwelcome questions asked about personal life

         • Comments to, or about, any individual or their appearance that is sexually graphic or
           would otherwise tend to be degrading

         • Displaying, sending, forwarding, downloading or otherwise distributing sexual materials
           via the Internet, computer, cellular data network, or e-mail

         • Consensual sexual relationships where such relationships lead to favoritism towards the
           student with whom the instructor is sexually involved, which adversely affects other
           students




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  7.3. Examples of other Forms of Harassment/Discrimination: There are other forms of
  harassment/discrimination as well that create a hostile educational or work environment on the
  basis of race, color, ancestry, religious creed, national or ethnic origin, sex, sexual orientation,
  gender expression, age, genetic information, disability, Vietnam Era Veteran, qualied disabled
  veteran or other eligible veteran status or status in any group protected by federal or state law
  (together, ‘protected class status’). Depending on the circumstances, the following are examples of
  behaviors that may constitute harassment/discrimination under this policy. This is not an
  exhaustive list:

          • Jokes, comments or innuendoes that make fun of, denigrate, or are based on an
            individual’s or group’s protected class status

          • Epithets or slurs based on an individual’s or group’s protected class status

          • Objects, posters, cartoons, or pictures which make fun of, denigrate, or are based on an
            individual’s or group’s protected class status whether directed to an individual, placed on
            University premises or displayed or circulated on campus

          • Displaying, sending, forwarding, downloading or otherwise distributing materials via the
            Internet, cellular data network, computer, or e-mail that make fun of, denigrate, or are
            based on protected class status

          • Other verbal or physical conduct that denigrates or shows hostility or aversion toward an
            individual or group based on protected class status.

  Determination of whether particular conduct violates this policy is made on a case-by-case basis, in
  light of all the known facts and circumstances. The University may take action on conduct that it
  deems to be inappropriate, regardless of whether it rises to the level of a violation of law.

  7.4. Retaliation: Brandeis policy, as well as federal and state law, prohibits retaliation against any
  person who in good faith initiates a complaint of harassment or discrimination or cooperates in the
  investigation of a complaint of harassment or discrimination. Retaliation may result in corrective
  action up to and including dismissal from school or termination of employment.

  7.5. False Claims: If it is determined that an individual falsied a claim of harassment or
  discrimination, it may result in corrective actions up to and including dismissal from school or
  release from employment.

  7.6. Contact/Reporting Information, Concerning Staff or Faculty: Brandeis encourages the
  reporting of all perceived incidents of discrimination or harassment. Concerns about harassment
  or discrimination by a faculty or staff member (including visiting faculty, post-doctoral fellows, or
  graduate students acting in an instructional capacity) should be brought to the attention of the Vice
  President for Human Resources and Title IX Coordinator in the Ofce of Human Resources at
  781-736-4464. Concerns about third parties, such as vendors, should also be directed to this
  individual. This individual, or a designee, is available to provide guidance in managing the
  concern, for help with informal resolution, for ling a complaint, and for reviewing complaints that
  require more in-depth fact-nding.        For guidance and/or to le a complaint against any
  undergraduate or graduate student, contact the Ofce of the Dean of Student Life at 781-736-
  3600.




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  16.4. Unauthorized use of University facilities, equipment, or supplies for commercial, political or
  other non-University related purposes is strictly prohibited (see Section 13).

  16.5. Unauthorized use of the University tax-exempt numbers or postal permit is prohibited.

            16.5.a. Guidelines Concerning Use of University Facilities, Name, Seal or Logo: On
            March 13, 1947, the Secretary of State of the Commonwealth of Massachusetts ofcially
            recognized and gave legal validity to the action of the Board of Trustees of Middlesex
            University in voting to change the name of that institution from the Trustees of
            Middlesex University to Brandeis University. Student organizations recognized by the
            Student Union Senate or Graduate Student Association (or otherwise recognized by the
            Division of Student Affairs) may use the name of the University, its seal or logo for
            purposes of identifying the organization.

            16.5.b. Student organizations recognized by the Student Union Senate or Graduate
            Student Association (or otherwise recognized by the Division of Student Affairs) may use
            University facilities for meetings, programs, events, or other activities subject to the
            standards and policies published elsewhere in this Handbook.

  Section 17. Protection of Privacy
  17.1. The privacy of every individual in his or her person, and in his or her room and/or ofce
  must be respected. Malicious or unauthorized entry into rooms, ofces, personal les, electronic
  les (see Sections 17.4 and 11.3), drawers, or locked spaces, such as lockers, etc., is prohibited.

  17.2. Except in circumstances as outlined in Section 10.5, authorized entry for the purpose of
  searching a student maintained room or space requires advance permission from the Dean of
  Student Life, the Senior Vice President for Students and Enrollment, or an appropriate designee.
  Each statement of permission to enter shall clearly set forth the purpose and objectives of the
  search, and shall specify the ofce(s), room(s), or spaces(s) to be entered. The search shall be limited
  to the purpose, objective, and location set forth in the statement of permission. The University
  ofcial making the search shall show the statement of permission to the occupant at the time of
  entry or, in the occupant’s absence, shall leave a copy of the statement in the room(s), ofce(s), or
  space(s) entered. Immediately on conclusion of the search, the ofcial shall prepare and give to or
  leave for the occupant(s) a receipt for any property seized.

  17.3. Student residence hall rooms are inspected by members of the Community Living staff
  periodically during the academic year to evaluate the safety, security, and health conditions of the
  rooms and to check for illegal possession of University–owned property. These inspections will be
  conducted by oor, by section of building, or by building. Public notication of such inspections will
  be provided 24 hours in advance and will specify the date and time of the inspection for a given area.
  A student’s presence in their room is not required for the inspection to take place (see Section 10.5).

  17.4. Student Records: The Federal Family Educational Rights and Privacy Act of 1974 (FERPA)
  gives each enrolled student at Brandeis certain rights, including access to the student’s educational
  records, the right to request amendment of those records where the student believes a record is
  inaccurate or misleading, and the right to add a statement presenting the student’s view if the
  records are not amended. A detailed statement of the rights and responsibilities of a student under
  the Act, the location of all records pertaining to a student, and the procedures for requesting access
  are contained in the Brandeis University Records Policy. The policy is available from the University
  Registrar and, at www.brandeis.edu/registrar/bulletin/EducRecordsPolicy.html, and is on reserve
  in the University Library.


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  Student Conduct System
  Section 18. Initial Procedures and the Mediated Resolution Option
  18.0. Disciplinary action against a student (any person enrolled in any academic program at
  Brandeis University, up to and including the student’s commencement day) may be implemented
  only though referral of a violation to the appropriate administrator within the Department of
  Student Rights and Community Standards (DSRCS). Where infractions of University standards
  and policies are involved, written reports of violations or complaints shall be submitted to the
  DSRCS from the accuser in a timely manner. In all cases the available facts shall be gathered from
  the accuser (the complainant or the reporting agency), and a careful evaluation of these facts, as
  well as the credibility of the person reporting them, shall be made. If at this point in the judgment
  of the administrator in the DSRCS, there is insufcient evidence of a violation, or the case lacks
  merit, or it was not reported in a timely fashion, a decision not to refer the matter to the conduct
  system may be made. The Dean of Student Life may appoint, as needed, ad hoc conduct boards in
  addition to the boards described in Section 20.

  18.1. Mediated Resolution Option
  The Director of the DSRCS, in his or her discretion, may approve the offer by an accuser to
  request participation of the accused in a mediated resolution that will be facilitated by the Director
  of the DSRCS or by a designee. A mediated resolution process is one in which the accuser and the
  accused agree to discuss the allegation in question with the assistance of the Director of the DSRCS
  or a designee. The purpose of a mediated resolution process is to apply an informal, non-
  adversarial approach to an outcome or compromise that will be agreed-upon, recorded, nal, and
  binding. The parties decide how to engage the conict through shared, in-person conversation, and
  the parties decide together how the conict will be resolved. The Director or designee serves to
  explain community standards, to ask clarifying questions, and to maintain an orderly, respectful
  atmosphere. The Director must also approve all proposed resolutions.

  Subject matter that is sometimes well-served by a mediated resolution option includes, though is not
  limited to: roommate disputes, allegations of theft of personal or intellectual property, certain
  academic conicts, and minor offenses of community standards.

  18.2. Participating parties have discretion to propose restitution and reconciliation outcomes subject
  to the approval of the Director. Such outcomes will be evaluated by the Director for their relevance
  to the conict, educational benet, constructiveness, and respect of parameters found in Section 21
  o f Rights and Responsibilities. In the event of an impasse or other impediment to arriving at a
  mutually-acceptable outcome the Director shall declare an endpoint to the mediated resolution
  process and redirect the matter to the process outlined in Section 19. Failure to adhere to the
  expectations of the written mediated resolution outcome may expose the offending party to further
  mediation or referral to the conduct process.

  18.3. A record of the outcome or impasse will be produced and will be subject to the maintenance
  provisions in Section 19.5.




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  Section 19. Procedural Standards in the Conduct Process
  19.1. In cases where DSRCS decides that there is evidence of a violation that warrants referral to
  the conduct system the accused student will be contacted to schedule a preliminary meeting with
  the appropriate administrator (communication regarding conduct procedures and meetings will be
  through the student’s Brandeis e-mail account). This meeting will serve to inform the student of the
  details of the charges and educate the student about the conduct system. The student will have the
  opportunity to ask questions and make statements. After this preliminary meeting the student will
  receive written charges. (If the student fails to schedule or attend a preliminary meeting in a timely
  fashion, the written charges will be sent in the absence of a preliminary meeting). The student may
  accept responsibility and choose administrative action (see Section 19.2) or may accept or deny
  responsibility and request a hearing before the Student Conduct Board (SCB). The accused student
  must choose one of the options (for all written charges) within 48 hours of delivery of the written
  charge(s) to the student, the student’s Brandeis e-mail account, the student’s campus mailbox, or the
  student’s home address. Prior to making this choice, the student shall be advised of the name of the
  administrator who would recommend the appropriate sanction. A student’s failure to choose one of
  the options within 48 hours constitutes an acceptance of responsibility for the violation. In such
  cases, the DSRCS administrator may proceed to sanctioning in accordance with Section 19.3, or
  refer the matter to the SCB for sanctioning. In the event of extenuating circumstances, the DSRCS
  administrator may grant additional time for the choice.

  19.2. Administrative Action: Within 30 class days (nal exams and Senior Week constitute class
  days) from the date the student chooses administrative action, the student shall meet with the
  DSRCS administrator to discuss the full circumstances of the charge(s); under the Administrative
  Action option, this is the only opportunity to present evidence. This meeting may be in addition to,
  or waived in the event of, the preliminary meeting between the accused and a DSRCS
  administrator. Summer instruction does not constitute class days unless the student is enrolled in
  summer school at Brandeis. The DSRCS shall notify the student in writing of the decision,
  conrming the action taken and the reasons for the decision.

  19.3. If the student fails to attend a scheduled meeting with a DSRCS administrator after having
  chosen administrative action, the administrator may complete the process in the student’s absence
  and notify him/her in writing of the decision. A student shall have the right to one rescheduled
  meeting if she/he fails to attend the originally scheduled meeting through no fault of her/his own
  as determined by the administrator in the DSRCS.

  19.4. Deferral of Proceedings: The staff of the DSRCS may defer (place on hold) conduct action at
  any stage of the process for a period not to exceed 90 class days if the student is unable to
  participate due to documented illness or incapacity, or if agreed upon by consent of the accuser,
  and/or the DSRCS administrator, and the accused student. Pending charges may be discontinued
  thereafter dependent upon the conduct of the accused student.

  19.5. A record of the administrative action, comprised of a summary of the evidence presented and
  decision rendered, shall be made by the administrator. Such records are condential and shall be
  maintained by the Director of Student Rights and Community Standards for ve years from the
  date of the case outcome, after which they will be destroyed, unless the student is involved in further
  conduct action. In all cases, the records will be maintained for ve years from the date of the last
  conduct action involving that student, after which the records will be destroyed (except in
  extraordinary cases as dened by the Dean of Student Life). Access to such records is governed by
  the University Records Policy (see Sections 17.4 and 19.14).




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  19.6. Procedures for Hearings before the Student Conduct Board (SCB): A hearing shall be held
  within 30 class days, or as soon as practicable, from the date the student chooses the Board hearing.
  Summer (the period between the last days of nal exams for the spring semester and the rst day of
  class in the fall semester) does not constitute class days unless the student is enrolled in Brandeis
  Summer School. Study Abroad (including domestic exchange programs) periods do not constitute
  class days. All hearings will be closed. Notice of the hearing date shall be delivered to the student
  in person, to the student’s campus mailbox, to the student’s Brandeis e-mail account, or the
  student’s home address at least 48 hours in advance of the hearing. An administrator from the
  DSRCS or another Student Affairs professional shall serve as the hearing administrator. The non-
  voting role of the hearing administrator is to ensure the appropriate execution of the hearing as
  prescribed in Section 23. The administrator serves to assist the Chairperson with the interpretation
  o f Rights and Responsibilities, extenuating or unusual procedural challenges, and will not act in any
  way to inuence the outcome of a case. The administrator shall be available prior to the hearing at
  the request of the accused student to provide information regarding the alleged violation and
  procedural matters. To provide adequate notice to all parties, names of any advisers and/or
  witnesses will be submitted by the accuser and/or the accused student(s) to the DSRCS
  administrator at least 24 hours prior to the hearing. The administrator may share the names of
  witnesses and advisers with the accused and accuser prior to the hearing. The accused, accuser and
  their advisers are prohibited from confronting or questioning the witnesses and accusers regarding
  the case prior to the hearing. Additional/unlisted witnesses may be considered at the discretion of
  the chairperson of the Board.

  19.7. Board members may be informed of the student’s name and charges prior to the hearing to
  avoid conict-of-interest. Any Board member may disqualify him/herself and either party to the
  case may request to disqualify a prospective member if she/he can satisfy the remaining members
  of the Board that there is good cause for disqualication. An alternate member may take the place
  of the disqualied member, or the accused and accuser may agree to proceed without the
  prescribed minimum voting composition of the Board.

  19.8. Advisers: The accused student and the accuser in a hearing may each bring an adviser of his
  or her choice from the University community to provide passive assistance during the hearing. With
  the permission of the DSRCS administrator, advisers may be present for conduct meetings prior to,
  and after, the hearing. In exceptional circumstances, the hearing administrator may allow active
  participation by an adviser during a hearing. The lack of availability of any particular adviser will
  not be considered a legitimate reason to reschedule the hearing (see Section 19.15). To avoid even
  the appearance of undue inuence, DSRCS staff that advises the boards, members of the SCB,
  and members of the Appeals Board are not eligible to serve as adviser for the accused or accuser.
  An adviser may not serve as a witness. Neither party shall be permitted to employ professional legal
  counsel or other persons from outside the University community to present the case before the
  Board or to advise the student during the hearing. However, passive assistance of legal counsel may
  be allowed when coexisting criminal charges are pending resulting from the same incident (see
  SRCS staff for details).

  19.9. The accused student and the accuser must be present at the hearing (except as provided in
  Section 19.15). She/he may present evidence and introduce witnesses during the hearing, with the
  passive assistance of the student’s adviser. Witnesses are those who were present for the incident in
  question, and/or have information directly related to the incident in question.             It is the
  responsibility of the accuser and the accused student to notify his or her witnesses and adviser
  regarding the time, date, and location of the hearing. Witnesses must be available when called by
  the Chairperson or their testimony may be disallowed. Any expenses incurred by a witness to
  participate will be the responsibility of the witness.


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  19.10. All persons giving evidence or testimony are obligated to be truthful. The Board shall rule
  on the admissibility of evidence and any witness testimony (see Section 19.6). Unduly repetitious or
  irrelevant evidence or witness testimony may be excluded. Rules of procedure and evidence
  applicable to civil or criminal cases in court do not apply.

  19.11. The accused student and the accuser shall have the right to view and question all evidence
  and reports presented to the Board during the hearing. The accused student and the accuser shall
  have the right to question all witnesses appearing before the Board and only at the hearing. Written
  testimony from absentee witnesses may be received by the Board. Proof of authorship but not
  content of such testimony must be made by certication of a notary public. Inaccessibility of a
  notary public must be brought to the attention of the DSRSC Director prior to the hearing.

  19.12. In cases where the accused student denies responsibility, the burden of proof shall rest upon
  the accuser.

  19.13. The Board shall make one of the following decisions upon completion of the hearing: (a) a
  nding of ‘not responsible’; (b) a nding of ‘responsible’ (based only upon clear and convincing
  evidence) and the recommendation of a sanction; (c) continuance of the case to obtain additional
  information or for further consideration. Decisions shall be based solely upon evidence and
  testimony introduced at the hearing. All decisions shall be made by a majority vote. During any
  hearing conducted by any conduct board, the chairperson shall vote only to break a tie. Note: In
  hearings that involve allegations of sexual misconduct, sexual harassment or sex discrimination in
  violation of Section 3 or 7, the standard of evaluation shall be preponderance of the evidence,
  instead of clear and convincing evidence.

  19.14. A written Hearing Report, comprised of a summary of evidence presented at the hearing
  and decision rendered by the Board, shall be made by the DSRCS hearing administrator. Hearing
  Reports are condential and shall be maintained by the Director of Student Rights and
  Community Standards for ve years from the date of the hearing, after which they will be destroyed
  unless the student is involved in further conduct action. In all cases the records will be maintained
  for ve years from the date of the last conduct action involving that student, after which the records
  will be destroyed (except in extraordinary cases as dened by the Dean of Student Life (see Section
  19.5). Access to these records is governed by the University Records Policy (see Section 17.4).

  19.15. An accused student or the accuser shall have the right to a rescheduled hearing if she/he
  fails to attend the originally scheduled hearing through no fault of his/her own as determined by
  the DSRCS hearing administrator. If the DSRCS hearing administrator concludes that the failure
  to attend was the fault of the student, the student shall be deemed to have accepted the
  responsibility, and the case will be referred for administrative action (see Section 19.3). If a hearing
  is rescheduled, it will take place after proper notication. If the accused student fails to attend the
  rescheduled hearing, the student shall be deemed to have accepted responsibility, and the case will
  be referred for administrative action (see Section 19.3).




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  19.16. Appeal Procedures for Board Decisions: Following approval or modication of the
  sanction(s) by the Dean of Student Life or the Director of Student Rights and Community
  Standards (see Section 21), an accused student shall have the right to submit an appeal request
  concerning the decision of a board to the University Appeals Board on Student Conduct. Such
  appeal requests shall be based only on specic evidence, presented in writing of:

             19.16.a. fraud
             19.16.b. denial of rights under this process
             19.16.c. procedural error
             19.16.d. the claim of new evidence not previously available, which would have materially
             affected the decision

  Appeals shall not be based upon, or granted due to, dissatisfaction with an imposed sanction.
  Appeal requests must be led within 7 days of delivery of the conduct action to the student in
  person, or to the student’s campus mailbox, home address or Brandeis e-mail address. If the
  University Appeals Board determines that a written request for appeal has merit, it shall conduct a
  new hearing of the case. Upon completion of the appeal hearing, the University Appeals Board
  may uphold the original decision and sanction imposed, nd the student not responsible, or increase
  or decrease the sanction. Any sanctions shall not take effect until approved or modied by the
  Dean of Student Life (or designee) or the Director of Student Rights and Community Standards
  (see Section 21). Note: In hearings that involve allegations of sexual misconduct, sexual
  harassment or sex discrimination in violation of Section 3 or 7, the accuser shall have the right to
  appeal.

  19.17. Procedures for Dean’s Review of Administrative Actions/Decisions (see Sections 19.1, 19.2,
  and 19.3): An accused student shall have the right to meet with the Dean of Student Life or
  Associate Dean of Student Life to discuss an administrative decision or administrative action. A
  student must request this meeting within 2 class days of delivery of the conduct action
  announcement. The Dean/Associate Dean may or may not amend the original decision and/or
  sanctions. Note: In cases that involve allegations of sexual misconduct, sexual harassment or sex
  discrimination in violation of Section 3 or 7, the accuser shall have the same right as an accused
  student.

  19.18. Accused students who obtain information at their hearing which might lead to new evidence
  shall ask for a continuance of that case at that time, rather than wait to raise the matter for the rst
  time as the basis for an appeal request.

  Section 20. Composition of Boards
  20.1. The Student Conduct Board: The SCB shall hear cases of alleged violations of community
  standards of behavior or University policies referred to it by the DSRCS. Procedures to be followed
  are enumerated in Section 19 and are available in the Department of Student Rights and
  Community Standards or on the website at www.brandeis.edu/studentaffairs/SRCS.

  20.2. In hearing cases of alleged violations of policy on academic integrity (see Section 4), a
  Student Conduct Board voting panel of two students and two faculty must be present; at hearings
  for alleged violations of all other standards or policies, a voting panel of three students and one
  faculty member or staff member must be present. The voting requirements in this section may be
  waived by mutual consent of the SCB, the accuser, and the accused.




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  20.3. A pool of faculty members and staff members shall serve on the Board. Faculty members are
  appointed by the Chairperson of the Faculty Senate. Staff members appointed by the Senior Vice
  President for Students and Enrollment. The term of appointment for faculty and staff members
  shall be two years and renewable.

  20.4. Students shall be selected annually by a process open to all continuing students. The Board is
  formed in the spring of the preceding academic year of a representative cross-section of Brandeis
  students.

  20.5. The SCB shall be chaired by students, each annually selected by the Board and the DSRCS
  Director.

  20.6. Any member of the SCB may be removed by the DSRCS Director in consultation with the
  student chairpersons if the member is determined to be responsible for behavior that conicts with
  the high standards of citizenship, condentiality, and cooperation that the Board represents.

  20.7. The University Appeals Board on Student Conduct: The University Appeals Board (UAB)
  shall hear appeals of decisions of the Student Conduct Board, and appeals of decisions of any ad
  hoc board which may be formed at the discretion of the Dean of Student Life (see Section 19.17
  for information on administrative action review). An Associate Dean of Student Life will serve as
  chairperson of the University Appeals Board.

  20.8. The University Appeals Board shall be comprised of three voting members (one full-time
  student and two members of the faculty) and one faculty chairperson. At least two undergraduate
  students and at least two graduate students shall be appointed to the voter pool by the President of
  the Student Union and Graduate Student Association, respectively. At least four faculty shall be
  appointed to the voter pool by the Chairperson of the Faculty Senate. A chairperson who is a full-
  time tenured faculty member shall be appointed by the Dean of Student Life. Students appointed
  to the Appeals Board must be free from all elected, appointed, or afliate relationships with the
  Student Union or Graduate Student Association. The term of appointment for faculty and staff
  members shall be two years and renewable.

  20.9. Members and alternates on the UAB shall be selected in a manner similar to that of the SCB,
  with its formation led by the Dean of Student Life and at least one other member of the Deans
  staff. If a UAB position becomes vacant, and no alternate is available, the original appointing
  authority shall appoint a replacement for the remainder of the term.

  20.10. A member of the UAB may be removed by the Dean of Student Life in consultation with
  the chairperson, if the member is determined to be responsible for behavior that conicts with the
  high standards of citizenship, condentiality, and cooperation that the UAB represents.

  20.11. SCB/UAB Hearing Administrators: All conduct boards shall have an administrator from
  Student Affairs serving as a Hearing Administrator in all stages of the conduct process including
  hearings and deliberations. Responsibilities of the SCB/UAB Hearing Administrator shall include:
  (a) advising the Board regarding the requirements and provisions of the University’s conduct
  system; (b) providing information relevant to procedures or sanctions; (c) providing continuity in
  Board operations and procedures; (d) facilitating the implementation of conduct procedures at all
  levels of the conduct system; (e) acting as a liaison between Boards and the University community;
  and (f) assisting the Board in fullling its educational responsibilities.




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  Section 21. Range of Conduct Actions and Sanctions
  21.0. A variety of actions may be taken as a consequence of being found responsible for a violation
  of community standards. When determining these actions, a DSRCS administrator or the SCB
  may consider all facets of the specic individual situation, including but not limited to the
  seriousness of the offense, prior history of violations, impact of the offense on others, the student’s
  class year, and/or evidence of intent. Because the purpose of this system is to uphold and promote
  community standards, a learning component is also part of the sanctioning process whenever
  appropriate. These learning components may include but are not limited to:
        • Failure in a course or on an assignment
        
        • Workshops on note-taking, footnoting, or writing a research paper
        
        • Training (e.g. conict resolution)
        
        • Education on ethical decision-making
        
        • Education on alcohol and drug abuse
        
        • Restitution for damages
        
        • Counseling/assessments
        
        • Family notication
        

  21.1. Learning components may be imposed in combination with other disciplinary action, and
  may include a required completion date. Failure to complete any designated learning component,
  as with any other sanction, could result in further conduct action. Sanctions shall not take effect
  until approved by the Director of Student Rights and Community Standards or the Associate Dean
  of Student Life or his/her designee, who can modify the sanction. Suspensions or dismissals shall
  not take effect until approved by the Dean of Student Life, who can modify the sanction.

             21.1.a. Verbal Warning: In cases where the student is found responsible and the
             discussion with the administrator, or the hearing before the Board, has been sufcient in
             and of itself, further action may not be deemed necessary. However, the responsible
             nding is noted in the student’s record in the Department of Student Rights and
             Community Standards.

             21.1.b. Disciplinary Warning: The student may be warned in writing of the possible
             consequences of continuing inappropriate behavior. Additional conditions may be
             applied as appropriate.

             21.1.c. Residence Probation: A student who is placed on residence probation is not in
             good standing with their living unit for a specied period of time, and conditions may be
             placed on their actions. The status of residence probation reminds the student that
             his/her infraction has become part of their record and that repetition of similar or other
             unacceptable behavior may be cause for removal from the residence halls.

             21.1.d. Removal from Living Unit: This action precludes the student’s continued
             residence either in a particular living unit or in any campus living unit. Such action
             would normally be taken after one serious violation or repeated violations related to the
             living unit environment.

             21.1.e. Loss of University Privileges: A student may be denied certain University
             privileges including, but not limited to, early arrival on campus, extended stays in the
             residence halls, participation in campus activities, representing the University in
             competition or other ofcial capacities, campus employment, and campus leadership
             opportunities. Loss of such privileges extends over a specic period of time, and is
             designed to reect a specic community concern about the student’s behavior.


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            21.1.f. Disciplinary Probation: A student who is placed on disciplinary probation is
            permitted to remain enrolled at the University, often under certain stated conditions
            depending upon the nature of the violation and potential learning value that may be
            derived from such conditions. The probation usually extends over a stated period, during
            which it is clearly understood that the student is subject to further disciplinary actions,
            including suspension or dismissal, if they violate the terms of the probation or in any way
            fail to conduct themselves as a responsible member of the University community.
            Probation is a nal warning to the student to help them reevaluate their behavior.

            21.1.g. Suspension: An involuntary separation of the student from the institution,
            suspension differs from dismissal since it denes conditions under which return will be
            possible. Suspension may extend for a semester, until a designated date, and/or until
            degrees/certicates will not be issued and credit will not be granted for courses taken
            elsewhere. Following the suspension period, return to Brandeis requires initial approval of
            the Dean of Student Life and then approval by the Committee on Academic Standing
            regarding academic suitability for readmission.

            21.1.h. Dismissal: A permanent, involuntary separation of the student from the
            institution.



  Section 22. Administrative Actions and Sanctions
  22.1. Protection of Individuals and the Community: Whenever the University has reason to believe
  that a student’s conduct or behavior may pose a signicant threat to his or her physical or emotional
  safety or well-being, or may disrupt the safety or well-being of another student, faculty, staff, guest
  or other University community member, the University may take any action that it believes to be
  appropriate and reasonable under the circumstances. This may include but is not limited to,
  notication of the student’s parents, removal of the student from a residence hall, or other action
  deemed necessary to remove or minimize the threat or disruption.

  The Dean of Student Life or designee is the only authorized grantor of permission to a student
  who wishes to return to classes and/or the residence halls after any removal.

  In the event the University takes such action, the University shall notify the student of the action
  taken and the basis for the action. Within three class days of notication, the student shall have an
  opportunity to speak with the Dean of Student Life, or the Dean’s designee, to discuss the situation
  and provide information, including documentation by a health care provider, to contest the action(s)
  taken. The Dean of Student Life shall then decide, at the Dean’s discretion, whether to reinstate or
  restore the student’s privileges, to consider further action under this procedure, or to take additional
  reasonable and appropriate steps.

  22.2. Emergency Suspension: Pending final action on a violation of University regulations, the
  status of a student shall not be altered, or their right to be present on the campus and to attend
  classes suspended, except for reasons of imminent danger to their physical or emotional safety or
  well-being, or for reasons of imminent danger to the safety or well-being of the University
  community. The decision to separate a student from the campus under these conditions shall be
  made by the Dean of Student Life or, in the Dean’s absence, by the Dean’s designee. If a student is
  separated from the campus by this authority, the procedures outlined in Section 19.1 shall be
  implemented within 10 class days after the separation.



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  22.3. Indenite Suspension: In the event the Dean of Student Life learns that a Brandeis student
  has been charged with or convicted of a crime, the Dean or the Dean’s designee may immediately
  remove the student from campus housing, restrict the student’s access to the campus, and/or
  indenitely suspend the student from the University pending the final outcome of a criminal
  proceeding. In making this decision, the Dean must consider the nature of the crime and the risk to
  the safety or well-being of the University community. A student suspended under this authority
  may request a meeting with the Dean and the Student Conduct Board (SCB). The SCB shall assess
  the risk to the safety or well-being of the Brandeis community and advise the Dean. The nal
  decision on continuation of the suspension shall be made by the Dean of Student Life, or in the
  Dean’s absence, by the Dean’s designee. The procedural standards set forth in Section 19 do not
  apply to Indenite Suspension.

  22.4. Dean’s Sanctions: Brandeis University expects students to conduct themselves at all times as
  good citizens and good neighbors in a manner that is consistent with the federal, state, and local
  laws and ordinances. Off-campus behavior which, in the judgment of the Dean of Student Life,
  constitutes behavior that is inconsistent with this expectation and adversely affects the University
  community may result in disciplinary action up to and including dismissal. A student disciplined
  under this authority may request a meeting with the Dean and the Student Conduct Board (SCB).
  The SCB shall advise the Dean on the appropriateness of the sanction. The nal decision shall be
  made by the Dean of Student Life or, in the Dean’s absence, by the Dean’s designee. The
  procedural standards set forth in Section 19 do not apply to off- campus behavior or Dean’s
  Sanction.

  22.5. Medical and Emotional Emergencies: Whenever a student’s conduct results in the
  intervention of Brandeis’ Health Service, the Brandeis Psychological Counseling Center, or a non-
  Brandeis medical or psychological health care provider in order to prevent or address a student’s
  self-harm or harm to others, or to address a student’s severe emotional or psychological distress, the
  Dean of Student Life will establish an emergency protocol for that student. Any student who
  receives treatment from a non-Brandeis medical or psychological health care provider under these
  circumstances must contact the Dean upon release.

  The Dean shall notify the student in writing of the emergency protocol and the basis for the
  protocol. Within three class days of notication, the student shall have an opportunity to speak
  with the Dean, or the Dean’s designee, to discuss the protocol and provide information, including
  documentation by a health care provider, to contest the action(s) taken. The Dean shall then
  decide, at the Dean’s discretion, whether to reinstate or restore the student’s privileges, to consider
  further action under this procedure, or to take additional reasonable and appropriate steps.

  During the period begun by the emergency intervention and continuing until the conveyance of
  explicit written permission by the Dean of Student Life (or designee) to resume campus functions, a
  student subject to an emergency protocol is not permitted to access any campus property, facilities
  or attend any classes. There will be no exception for examinations or other time-sensitive student
  activities or academic obligations. Failure to comply with this protocol may result in referral to the
  Student Conduct Process as dened in this document.




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  Section 23. Hearing Procedures for the Student Conduct Process1

  All hearing participants are brought into the Board meeting room.

  A. Chairperson invites all present to introduce themselves.

  B. Chairperson explains philosophy of peer judgment and Board procedures (a copy of this
  statement is available from the Department of Student Rights and Community Standards).

  C. Chairperson gives statement of the student’s rights to fairness under this process:
           1. To bring one adviser of the accused/accuser’s choice from the University community
           to provide passive assistance during the hearing (the adviser may not serve as a witness)
           2. To present witnesses on their own behalf
           3. To question witnesses appearing against them
           4. To submit verbal arguments
           5. To remain silent and not testify against themselves. The accused/accuser should
           remember that if they remain silent, the Board is compelled to hear the case and render a
           decision based upon the evidence presented.

  D. Witnesses leave the room

  E. Chairperson gives statement of accusations
           1. The accused is asked if sh/e understands the accusations
           2. The accused accepts or denies responsibility

  F. Initial presentations:
  In the event that there is more than one accused, the Board may bring them into the hearing room either individually or
  as a group for descriptions of the incident in alphabetical order; this system shall prevail throughout the remainder of
  the hearing procedures.
              1. The accuser offers their description of incident
              2. The accused offers their description of the incident
              3. The accused may ask questions of the accuser
              4. Board members may ask questions of the accuser
              5. The accuser may ask questions of the accused
              6. Board members may ask questions of the accused

  G. Witnesses for the accuser may be called
           1. The accuser may ask questions of the witness
           2. The accused may ask questions of the witness
           3. Board members may ask questions of the witness
           4. Witness is excused from the hearing room (but retained outside for possible recall)

  H. Witnesses for the accused may be called
           1. The accused may ask questions of the witness
           2. The accuser may ask questions of the witness
           3. Board members may ask questions of the witness
           4. Witness is excused from the hearing room (but retained outside for possible recall
           through Step M.)

  1 Hearing procedures may differ in cases involving allegations of sexual misconduct, sexual
  harassment or sex discrimination in accordance with Title IX.


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  I. The accuser, the accused, or Board members may recall witnesses or re-question the accuser or
  accused (following same order as previous witness questioning).

  J. Final statement of accuser (no new testimony)

  K. Final statement of accused (no new testimony)

  L. Accuser, accused, and their respective advisers leave hearing room, but remain outside.

  M. Board deliberates on responsibility
  After the board reaches a determination any remaining witnesses in the waiting area are excused.
  The accused, the accuser, and advisers are called back into the hearing room to hear the decision
  on responsibility.

  N. If the accused is found not responsible for all charges, all are excused and hearing is adjourned.
  An outcome notication (via Brandeis e-mail) will be sent to the accused, usually within 3-5 business
  days.

  O. If the accused is found responsible for one or more charges, recommendations and questions on
  sanction(s) are heard.
            1. The Board hears recommendations from the accuser regarding a possible sanction(s)
                       a. The accused may question the accuser and/or make a statement regarding
                       recommended sanction(s)
                       b. The accuser may question the accused on the recommended sanction(s)
                       c. The Board may question the accused and the accuser on the recommended
                       sanction(s)
            2. The accuser, the accused and their respective advisers are informed that the Board will
            deliberate on sanction recommendations which will be communicated to the Director of
            Student Rights and Community Standards, Associate Dean of Student Life and/or Dean
            of Student Life. Final sanction determinations will be communicated in writing to the
            accused, and in some cases to the accuser, usually within 3-5 business days. The accused,
            the accuser, and advisers are excused and the Board reserves the right to adjourn for later
            deliberations.

  P. The Board deliberates on sanction recommendations.
           1. The Board is advised of past conduct involvement of the accused, if any, by the
           Hearing Administrator.
           2. The Hearing Administrator will record the Board’s recommendations, which
           will be reviewed by the appropriate administrator.

  Appeal procedures will be addressed in the nal outcome letter to the accused and, in some cases,
  the accuser.




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